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                    Defendant’s Motion to Seal

                            Exhibit 1
                     Non-Confidential Descriptive Index
                    (Local Criminal Rule 49.01(B)(2)(a))
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                    BEAUFORT DIVISION

United States of America,                           Case No. 9:22-cr-00658-RMG

           v.

Russell Lucius Laffitte,

                      Defendant.


                              Non-Confidential Descriptive Index

       In accordance with Local Crim. R. 49.01(B)(2)(a) (D.S.C.) and the Standing Order

Regarding Sealing Documents in Criminal Matters, ECF No. 1, No. 3:14-mc-00333-TLW (Oct.

28, 2014), the following non-confidential descriptive index is filed contemporaneously with the

Motion to Seal filed by Defendant:

Exhibit Document                                Description

   A      Defendant’s Response to               Defendant’s response to ECF No. 188 provided to
          Government’s Notice about             the Court via email.
          Extrajudicial Statements




                                   [Signature on following page.]
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